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TTY FORUM - 17

Meeting Summary Report

March 14, 2001
ATIS Conference Center
Washington, DC

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6. TTY Liaison Reports:

FCC
Ed Hall noted that Elizabeth Lyle retired from the FCC, but that there were several other
FCC Participants at the TTY Forum. Blaise Scinto, Deputy Chief of the Wireless Policy
Division introduced the FCC contingent and noted that the new participants to the TTY
Forum were not new to the issues being discussed today. She noted that the agency is in
transition, but that the Commission is dedicated to addressing the issues of the TTY
Forum.

Blaise Scinto introduced Mindy Littell to discuss the FCC 4" R&O from December 14,
2000 which set an implementation schedule for digital wireless systems to accept E-911
calls from TTY devices. The deadline for implementation is June 30, 2002. She also
noted that the 4" R&O established a quarterly reporting requirement for carriers. The
first implementation status report is due April 15, 2001. Mindy Littell also noted that the
commission allowed for the industry to report through the TTY Forum and noted that the
FCC is thankful to the Forum for all of the work that they are doing to ensure that the
industry is able to meet FCC deadlines.

For a copy of the 4"" R&O, please visit
http://www.fcc.gov/Bureaus/Common_Carrier/Orders/2000/fcc00436.txt.

Mindy Littell noted that CTIA requested clarification of the commission’s statement with
respect to enhanced protocols. Several entities filed in support of CTIA’s request.

Ed Hall thanked the FCC for their report.

CTIA
No report was given.

PCIA
Ed Hall noted that he was contacted by PCIA, they will no longer be participating in the
TTY Forum. PCIA Liaison will therefore be removed from the agenda.

NAD
No report was given.

TDI
No report was given.

7, Review FCC Timeline
Ed Hall introduced Contribution TTY 17/01.03.14.06 which is a “cheat sheet” on the FCC
implementation timeline and suggested report contents. He noted that the plan is to have a
TTY Forum well in advance of the due date to give the TTY Forum Secretariat ample time to
collect everyone’s report and to have sufficient time for participants to review the Meeting

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Nokia

Doug Neeley noted that Nokia engineers are also awaiting a final version of the standards.

Nokia is planning on TTY Compatibility in eight new phone programs with 10 to 18
different specific models having COMA, TDMA, GSM and AMPS capability in various
combinations.

Nokia mobile handset products are currently planning to support TTY/TDD Compatibility
plus three-pin headset functions. Several models will use the bottom system connector to
convert the Tx and Rx audio signals from XEAR and XMIC to a standard 3 conductor
2.5mm jack. Other projects have a built-in 2.5mm jack four-conductor on the handset that
will eliminate the need for an external adapter. Nokia has formed a separate program team to
implement the various interconnect cables according to TIA/EIA TSB-121.

Dick Brandt noted that the solution offered by Nokia might not be acceptable to all TTY
users as the function key might complicate things too much. Ron Schultz, Ultratec noted that
Nokia is treating the symptom as a temporary solution, but it’s still a problem in that
implementing the basic solution for HCO/VCO would still lead to voice degradation and
certain people would still have problems.

Cheryl Gentry, Sprint PCS, noted that if the toggle is a user-friendly function she does not
see an issue. But, she wanted to know if the voice degradation issue was a headset jack issue
or whether it’s because of the TTY. She asked if there is a way for the jack to recognize
whether the plug-in is a TTY or a headset. Doug answered that right now, if you plug
something into the headset jack, it says headset. Nokia’s solution is to have an option to
make it ALWAYS a TTY option if something is plugged into the headset jack.

Sean White, FCC Disability Rights Office, noted that the ADA Title 3 requires places of
public accommodation and private entities to make accessibility and accommodation
features. Section 255 requires telecommunications to make their services accessible to and
usable by persons with disabilities. The FCC has left the market to decide which is the best
solution. Sean White noted that the ADA and the Telecommunications Act have not
provided specifics. He also noted that the Section 255 enforcement has been complaint
driven.

In order to avoid complaints, some of the participants suggested surveying the consumers to
ascertain whether the toggle function would be acceptable to them.

ACTION ITEM 2: Consumer groups will review the “user intervention”
handset function and report back at the next TTY Forum on whether or
not the function is considered a viable option.

In order to complete the action item, Dick Brandt, Gallaudet University, put together a

statement regarding the toggle function for the use of TTY machines through the 2.5-mm
jack. It reads:

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TTY17

March 14, 2001

Washington, DC

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Dobson Cellular
Southern LINC

VoiceStream Wireless
Washington RSA No. 8 Limited Partnership and Eastern Sub-RSA Limited Partnership

TTY Forum #17

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Non-attending Participants
(These companies submitted Implementation Status Reports
but did not attend TTY Forum #17)

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TY Forum

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TTY FORUM - 18

Meeting Summary Report

June 12, 2001
ATIS Conference Center
Washington, DC

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. Correspondence

e Judy Harkins, Gallaudet, introduced Contribution TTY 18/01.06.12.07 and
TTY18/01.06.12.13 which introduce the topic of testing against user requirements. She
explained that Gallaudet University is currently set up to aid in testing.

e =6Ed Hall, ATIS, introduced Contribution TTY 18/01.06.12.08, which is an email from
Krown TTY Manufacturers. The email explains that there is no difference between
FastType and TurboCode.

e Ed Hall, ATIS, introduced Contribution TTY 18/01.06.12.12, which is an email from
David Baquis of the Access Board. The email noted that V.18 does not include
FastT ype or TurboCode because they are proprietary codes.

. TTY Liaison Reports: FCC; CTIA; NAD; TDI

e FCC: Mindy Littel introduced all FCC attendants and their titles and departments at the
Commission. She thanked all entities that filed their reports last quarter and noted that
the reports will continue to be required through the deadline of June 2002. She noted
that the reports are helpful to the FCC for the purpose of knowing what is being done
and what challenges lie ahead for the industry. Ed Hall thanked Mindy and asked if
there was anything that could be done to make the reports more effective. Mindy noted
that she thought that the reports were on target.

e CTIA: no report

e NAD: no report

e TDI: Jim House noted that TDI is currently planning their conference and that the
deadline for registration is next week.

e ATIS: Ed Hall noted that ATIS is co-sponsoring with TIA the FCC Part 68, ACTA
terminal certification program. He also noted that Beth Wilson from SHHH was both a
member of the ACTA anda TTY participant. In addition, Ed noted that June 13-14 is
the inaugural meeting of the AVSS/IVR Forum, which is a continuation of the AVSS
forum held by Gallaudet University last year and will address the topic of making IVR
Systems more acceptable to users with disabilities.

. Review TTY Forum #17 Agreements and Action Items
Ed Hall reviewed all agreements and action items from the TTY Forum #17. There were no
comments submitted on those items.

. Industry Implementation Status Reports

Ed Hall noted that verbal reports could be made at this meeting, but should be followed by a
written submission to the TTY Forum Secretariat by July 11, 2001. Megan Hayes, ATIS,
noted that more information regarding status reports was available on the TTY Forum web
site at http://www.atis.org/atis/tty/ttyforum.htm.

LUCENT TECHNOLOGIES

Jim Huntley and Steve Benno from Lucent Technologies introduced Contribution TTY 18-
01-06-12-05, which is an overview of Lucent’s Implementation Status Report for the second
quarter of 2001.

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VOICESTREAM WIRELESS
Mark Cosgrove, VoiceStream Wireless, introduced Contributions TTY 18-01-06-12-11,
which is VoiceStream’s Implementation Status Report for the second quarter of 2001

CINGULAR WIRELESS

Sean Campbell, Cingular, noted that there has been a huge improvement in the
communications between manufacturers and operators since the last TTY Forum. He further
noted that the improved communication has put Cingular in a better position to meet the FCC
deadlines.

However, Cingular still has some concerns on the availability of hardware and software both
on the infrastructure and the handset sides. Mr. Campbell wanted to stress that the

manufacturers and the operators need to continue to work together in order to be able to meet
the FCC deadlines.

Mr. Campbell noted that TDMA centric testing of the no gain solution for the TDMA
markets should commence shortly. They plan to have an implementation schedule developed
in the third or fourth quarter of 2001. Cingular is ready to test GSM infrastructure in their
markets. During the last GSM-NA conference in Calgary, there was an agreement on a final
architecture solution to allow operators to choose which architecture best fits the operators’
needs. At this time, the solution does not delay the roll out but allows for further
interoperability and roaming for consumers. In addition, no pre-subscription is required.
Cingular will begin work with the PSAPs as soon as the infrastructure testing is complete.

AT&T Wireless

Scott Prather, AWS, noted that the focus of their report is on test activities and mentioned
that test documentation has been developed. Recently, they submitted a proposed
preliminary field test plan to the GSM-NA for GSM handsets. A similar document exists for
the TDMA handsets and they would like to make the document generally available to the
forum as appropriate. The test plan is evolving as they continue with ongoing lab testing.

They are using modems supplied by Ultratec, the Intelimodem 2400, modified for use with a
wireless device. That test bed is set up in their lab and they are using the Lober & Walsh set
up. Their lab testing has been in a static environment. When they ran through the normal
scenario of tests, evaluating both up-link and down-link on TDMA on a Panasonic and Nokia
handset, they found character error rates which were consistently at 0%, with rare error rates
seen at under 10%. There are some interactions with commonly used network functions that
need to be addressed. For example, call waiting will interrupt the audio path briefly for the
beep tone. If the caller hangs up to answer the call, 2-3 characters are lost during the
interrupt and 3-5 characters are lost during the hanging up.

A typical character loss for a Short Message Service (SMS) message 70 characters long is a
7-10 TTY character loss. If the alert tone from the phone 1s brief, there will be a loss of 8-10
characters, but if the alert tone is longer, there will be more characters lost. If someone
accidentally hits a key on the handset keypad, there will also be character loss. They were
not able to do any inter-system handoff testing.

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Usually, there is no character loss when the call is first set up, but occasionally, there is a one
character loss or repetition. In the non-TTY mode, they found a considerable problem with a
character error rate as high as 18%. Mr. Prather noted that there is quite a bit of impact on the
lasting effects of echo characters depending on the quality of cable that connects the TTY to
the handset. The quality of those cables needs to be addressed if there is to be reliable
communication over TTY.

It was noted that this problem is not due to echo from the handset but is caused by
intermediary cables that the consumer may use between the handset and the TY device. The
users questioned how the consumer would make the selection of cable to ensure the least
echo and the clearest message delivery. It was noted that this topic would be put aside to be
further discussed during the technical activities portion of this meeting.

David Nelson, NAD, Norman Williams, Gallaudet, and Beth Wilson, SHHH, stated that they
felt a sufficient solution to the loss of characters during a call waiting interrupt would be the
ability to turn off the call waiting feature.

ERICSSON

Matt Kaltenbach presented Contribution TTY 18/01.06.12.14, showing the status of testing
and development at Ericsson. He noted that within handset development CDMA and TDMA
work is now almost complete. Testing has begun on a number of products currently in
development, and agreements are being reached on 711 and 911 PSAP testing. In testing that
has already concluded, they have found that there are very low error rates for CDMA and
that the Vocoder passes data bi-directionality. They found the GSM error rates below 1%
under non-fading signal conditions, and that specific signal levels need further study.

On the network side, the latest ballot version of the CDMA standard is being used for testing
in the transcoder solution. The test case executions will begin around the end of July and the
software development tests should be completed by August 15". The development schedule
for TDMA is on track and ballots are being monitored to incorporate any changes of
standards. With GSM they have moved to the circuit pooling solution to follow the industry
consensus per 3GPP TS 23.226.

Sean Campbell, Cingular, thanked Ericsson for the level of detail in their report and invited
other manufacturers to provide similar detail in their reports.

David Nelson, NAD, asked the FCC if the 311 non-emergency call center has to be
accessible to TTY users, and Pam Gregory from the FCC noted that they haven’t designated
311 nationwide to date and that her understanding 1s that the Commission is still considering
it. Ms. Gregory also noted that the FCC needs to further investigate the requirements of the
ADA before deciding on this issue. Toni Dunne, NENA, noted that there are areas of the
nation that are implementing 311 for non-emergency calls and that in those areas, the same
staff or level of training is found for 311 call takers as with the 911 call takers. David Nelson
noted that the TTY Forum should keep in mind that 311 might become a future requirement
for TTY accessibility.

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MOTOROLA

Paul Hall, Motorola, introduced all the Motorola representatives present. He then presented
Contribution TTY 18/01.06.12.17, which is a schedule of testing for COMA, GSM, and
TDMA. He noted that IDEN and CDMA are currently ready for First Office Application
(FOA).

Norman Williams, Gallaudet, asked for the details on the user-test plan. Paul responded that
the handset would be given to a test group of users to provide feedback of their experience.
He noted that Motorola would be interested in having Gallaudet involved in the testing.

NEXTEL
Bob Montgomery, Nextel, noted that they, too, are on track for user and infrastructure
testing.

NORTEL

Charles Spann, Nortel, reported that they will have product availability before the FCC
deadline. They do see some challenges including handset availability because testing is
revealing small problems with user interface. They are looking to handset manufacturers to
get handsets for testing as soon as possible. Mr. Spann noted that one of the most pressing
issues in testing is the lack of precise information from TTY manufacturers. This lack of
information is making it difficult to determine whether unidentifiable problems in the carrier
and handset testing are coming from the TTY machines or whether there is an issue that
needs to be addressed on the part of the carrier or handset manufacturer.

. Technical Activities
GTT Standardization:

Gunner Hellstrom, Ericsson, presented Contribution TTY 18/01.06.12.09 regarding GTT
Standardization.

A participant asked Mr. Hellstrom to define SIM-less phone, and he noted that SIM stands
for Subscriber Identity Module and is a card that goes in a GSM phone to designate the user.
A participant asked how a SIM-less phone could be used in an emergency. Chuck Wood, US
Cellular, noted that only a 911 call could be made from a SIM-less phone. Mr. Wood then
asked how CTM service would be accessed. Mr. Hellstrom responded that the phone would
be able to access the CTM from the call set-up within the phone. Patrick Forster, FCC, asked
if the phone would need to be set up or if the phone would automatically detect a TTY
device. Mr. Hellstrom responded that there are several options at this point for how a phone
would recognize TTY capabilities.

GSM Standards Update
Mark Cosgrove, VoiceStream, mentioned that a lot of the standards work for GSM has been

distributed for approval as release 5 in the 3GPP. A lot of the work currently being done is
on the architectural side. The changes have moved forward to the final GSM-NA approval at

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The following companies submitted their TTY Implementation Status Reports for the second
quarter of 2001 through the TTY Forum, but did not attend TTY Forum #18.

Bluegrass Cellular Inc.

Caprock Cellular Limited Partnership
Carolina West Wireless

Corr Wireless LLC

Dobson Cellular Systems

Farmers Cellular Telephone, Inc.
Great Lakes of Iowa inc.

Midwest Wireless Holdings L.L.C.
Pine Belt Cellular, In.c

PYXIS Communications

Qwest Wireless

RTSC Corporation, Inc.

Rural Cellular Corporation
Southern LINC

TeleCorp Communications, Inc.
TMP Corporation

Tritel Communications, Inc.

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TTY Forum

TTY FORUM - 19

Meeting Summary Report

September 26, 2001
ATIS Conference Center
Washington, DC
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TTY/TDD Forum — 19
September 26, 2001

ATIS Conference Center

1200 G Street, NW, Suite 500
Washington, DC

Meeting Summary

1. Call to Order, Introductions and Attendance Roster

Ed Hall, ATIS, Chair, called the meeting to order at 9:03am. He stated that there are quite a few
members attending this meeting via the Conference/virtual link. He asked Megan Hayes, TTY
Forum Secretariat, to make a few comments on accessibility. She explained that having a
Virtual Meeting in addition to the face-to-face meeting presented serious challenges to
accessibility and outlined some suggestions for all participants to make the meeting as accessible
as possible. All participants took the opportunity to introduce themselves.

2. Call for and Numbering of Contributions

Ed Hall introduced all contributions, and asked for any additional contributions. There were
none. All contributions provided to the Secretariat electronically are available for download on
the TTY Forum web site at http://www.atis.org/atis/tty/documents, or by sending a request to
Megan Hayes (mhayes@atis.org). Contributions were submitted and numbered as follows:

Number Title

TTY19/01.09.26.01 | Agenda

TTY19/01.09.26.02 | Roster

TTY 19/01.09.26.03 | TTY18 Meeting Summary

TTY19/01.09.26.04 | TTY18 Agreements and Action Items

TTY19/01.09.26.05 | TTSI Report to TTY Forum — 19

TTY19/01.09.26.06 | Digit Wireless Presentation

TTY 19/01.09.26.07 | Sprint PCS Report

TTY 19/01.09.26.08 | Ericsson Report

TTY19/01.09.26.09 | Appendix B — Recommended Text, Consumer Notification
TTY 19/01.09.26.10 | Agreements & Action Items

TTY19/01.09.26.11 | TTY19 Meeting Summary

TTY 19/01.09.26.12

3. Review & Approve Agenda

The agenda was distributed and approved without modification.
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4. TTY Forum #18 Summary

Ed Hall asked if there were any suggested modifications to the TTY Forum #18 Meeting
Summary. There were none and the document was accepted as final.

5. Correspondence
There has been no correspondence received since the last meeting.
6. TTY Liaison Reports: FCC; CTIA; NAD; TDI

° FCC—Mindy Litell thanked all entities that filed reports last quarter. She noted that the
reports are a valuable source of information for the Commission and expressed her
appreciation for the Forum’s effort in compiling these reports. She stated her hope that
all necessary equipment is available so that carriers can meet the 12/31/01 deadline. She
reminded the participants that reports will continue to be required each quarter and the
FCC looks forward to hearing about any further issues and concerns.

e CTIA, NAD, and TDI had no reports at this time.
7. Review TTY Forum #18 Agreements and Action Items

Ed Hall reviewed all agreements and action items from the TTY Forum #18. There were no
further comments submitted on these items at this point.

8. Industry implementation Status Reports

Ed Hall noted that there were 2 written reports submitted for this meeting, and after their
presentations verbal reports would be accepted. He noted that the verbal reports should be
followed by a written submission to the TTY Forum Secretariat by October 10, 2001, 5pm,
Eastern Time. Reports should be emailed to Megan Hayes (mhayes@atis.org).

SPRINT PCS

Rachelle Redfairn and Scott Freiermuth introduced contribution TTY/01.09.26.07. They
reported that Sprint PCS began testing in its internal lab, and that testing of vendors is to proceed
over the next few months. They reported that they are having some difficulty with
interoperability tests, and they have not isolated the problem at this time. They will be testing to
determine problems, using the Gallaudet software. Andrea Williams, CTIA, asked where they
were seeing these problems, in the handsets or in the network. Scott Freiermuth responded that
they do not have the answer to that question at this time, but they will be isolating the elements
in testing to trace the difficulty. Ed Hall mentioned that Sprint PCS has been very active with
the TTY Technical Standards Incubator (TTSD, and will figure prominently in the TTSI report.
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TTY Forum #19
Meeting Roster
September 26, 2001
Washington, DC

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TTY Forum

TTY Forum — 20
Meeting Summary Report

December 11, 2001
ATIS Conference Center
Washington, DC
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TTY/TDD Forum — 20
December 11, 2001
ATIS Conference Center
“TTY Forum 1200 G Street, NW, Suite 500
Washington, DC

Meeting Summary

1. Call to Order, Introduction and Attendance Roster

Ed Hall, ATIS, Chair, called the meeting to order at 9:09 a.m. He thanked all the participants in
attendance for their participation. All participants took the opportunity to introduce themselves.

2. Call for and Numbering of Contributions

Ed Hall introduced all contributions, and asked for any additional contributions. All
contributions provided to the Secretariat electronically are available for download on the TTY
Forum web site at http://www.atis.org/atis/tty/ttydocs.htm, or by sending a request to Megan
Hayes (mhayes@atis.org). Contributions were submitted and numbered as follows.

Number Title
TTY20/01.12.11.01 Agenda
TTY20/01 12.11.02 Roster

TTY20/01 12.11.03

TTY19 Agreements and Action Items

TTY20/01 12.11.04

TTSI Report to TTY Forum — 20

TTY20/01 12.11.05

Appendix J

TTY20/01 12.11.06

FCC NPRM (November 14, 2001)

TTY 20/01 12.11.07

TTY19 Meeting Summary

TTY20/01 12.11.08

Labeling and Marketing Plan

TTY20/01 12.11.09

Sony Ericsson Presentation

TTY20/01 12.11.10

Gallaudet Testing Results

TTY20/01 12.11.11

TTY Mode Switch User Questions Revised

TTY20/01 12.11.12

Roll Out Guidelines and Considerations

TTY20/01 12.11.13

TTY-20 Agreements & Action Items

TTY20/01 12.11.14

TTY-20 Meeting Summary

3. Review and Approve Agenda
The agenda was distributed and approved without modification.

4. TTY Forum #19 Summary
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Ed Hall asked if there were any suggested modifications to the TTY Forum #19 Meeting
Suminary. There were none and the document was accepted as final.

5. TTY Liaison Reports

Sa. FCC—Mindy Litell thanked all entities for reports filed last quarter. She noted
that the first deadline, December 31, 2001, is quickly approaching. She expressed her
interest in hearing the company status reports given at this meeting, both to see progress
and to judge if the second deadline, June 30, 2002, would be met.

Sb. CTIA—No report at this time.

Sc. NAD and TDI—Jim House, TDI, reported that he had worked with the TTY
Working Group discussing labeling and marketing, and his contribution
(TTY/2001/01 12.11.08) will be discussed during agenda item number ten “Terminal
Product Labeling for TTY Accessible Devices.”

6. Review TTY Forum #19 Agreements and Action Items

Ed Hall reviewed all agreements and action items from the TTY Forum #19. He detailed where
these items would be reviewed in the agenda. There were no further comments submitted on
these items at this point.

7. Industry Implementation Status Reports

Ed Hall noted that Sony Ericsson submitted a written report, and that verbal reports would be
accepted from other participants. He noted that the verbal reports should be followed by a
written submission to the TTY Forum Secretariat by January 9, 2002, 5 p.m. Eastern Time.
Reports should be e-mailed to Megan Hayes (mhayes@atis.org) in final form Microsoft Word
format.

Cingular

Ken Evans reported that Cingular has both TDMA and GSM technologies and uses three
different vendors. He reported that progress with TDMA is proceeding with all three vendors
and roll out should begin on schedule. He expressed concern with the status of GSM technology
from Nortel, explaining that although Cingular had received the software solution from Nortel,
there were bugs to be worked out and the software had yet to be tested and installed. He
expressed his concern with the ability to meet the June 30, 2002 deadline for GSM in all markets
due to the work still needed on the Nortel technology.

Ken Evans also mentioned that the company needs more information on the perceived need for
the handsets for testing and retail. Several participants, including Susan Palmer, Cingular, noted
the need for consumer input in the roll out process of these new TTY compatible devices. Ed
Hall suggested adding discussions of roll out issue under agenda item #12, “New Business.”
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AT&T

Lor Buerger reported that the AT&T status is very similar to that of Cingular. She noted that
their three vendors progress is similarly situated with regards to both TDMA and GSM, and that
they are finding similar problems in the launching of the Nortel GSM technology. She noted that
as this forum is meeting, she has another colleague involved in the Nortel testing. She noted that
AT&T is comfortable with their ability to meet the deadline dates at this time. In regards to
handsets, she informed the group that there is a Panasonic version of the TTY compatible phone
currently available in stores. Pieter Seidel, Panasonic, noted that the available phone 1s a TDMA
Tri-Band phone.

Sony/Ericsson

Matt Kaltenbach presented Contribution TTY20/01.12.11.09, which 1s Sony Ericsson’s TTY
Forum — 20 Report. In regards to network infrastructure status, he reported that the testing is
complete on the TDMA network and General Availability (GA) was granted on December 5,
2001. He reported that the GSM network development was complete and testing and
performance evaluation has begun. He reported Sony Ericsson’s expectation that the first
activation of this network will be during the first quarter of 2002. He reported that the COMA
network code is currently under development with testing slated for mid-December 2001.

In regards to handsets, Matt Kaltenbach reported that TDMA handsets have completed
developmental testing and volume availability is expected March 31, 2002. GSM handsets have
also completed developmental testing and volume availability is expected on February 20, 2002.
He noted that CDMA handsets have encountered problems in the developmental test process and
that the release plans for these handsets remain open, as solutions are sought for the problem.

Matt Kaltenbach reported on the testing status of the devices and technology at Sony Ericsson,
including testing occurring in the ATIS-sponsored incubator group, TTY Technical Standards
Implementation (TTSI). A participant noted some concern over the 3% error rate displayed in
the testing report. Mr. Kaltenbach explained that this 3% error rate occurred randomly as a result
of a “hiccup” in the network. Peiter Seidel noted that error rates in voice quality often need to be
averaged due to these random events, it is not an event that occurs only in TTY compatible
technology. David Nelson, NAD, noted his concern that a crowded network could compound
this kind of error and affect the quality of the call. Mr. Kaltenbach responded that the call
completed error rate on a crowded network would be no different from an error rate seen on a
normal day. Andrea Williams, CTIA, noted that the ability to complete a call was directly
related to the amount of spectrum available in any given area. Mr. Seidel noted that with TDMA
there are two places that a call can be affected by heavy network traffic: m call completion and
during hand-off. He noted that if the network capacity is full, the call might be lost during hand-
off, however, this is a problem that occurs in all calls, and is not a TTY specific issue. Beth
Wilson asked about TTY SILENCE, and Mr. Kaltenbach replied that they are still looking at
why it occurs and the best way for it to be resolved within the industry.

Ms. Wilson referred to the diagram in the Sony Ericsson report, which showed an extra
attachment device being used to enable TTY compatibility with a handset. Mr. Kaltenbach
replied that this would be a temporary solution with the eventual goal being the integration of the
TTY device in the handset. Peter Lee, Ameriphone, explained that new models are currently in
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Meeting Roster
December 11, 2001
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TTY Forum — 21
Meeting Summary Report

March 5, 2002
ATIS Conference Center
Washington, DC

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5. TTY Correspondence and Liaison Reports: FCC; CTIA; NAD; TDI; NENA; ATIS

a. FCC — Mindy Littel, FCC, introduced all FCC representatives to the Forum. She noted
that the Commission is interested in hearing of the progress that has been made since the
last Forum meeting. She also noted that the FCC is hopeful that the June 30, 2002
deadline is still feasible despite the problems found during testing and reported to the
FCC by the TTY Technical Standards Implementation (TTSI) Incubator. She explained
that the Wireless Policy Bureau and the Disability Rights Office would be meeting with
ATIS and TTSI next week to discuss Contribution TT Y21-02-03-05-07, the letter from
TTSI to the FCC regarding the PSAP problem. Mr. Hall asked that all questions
regarding this letter be held until Agenda Item 8c.

b. CTIA —No Comments.
c. NAD ~ No Comments

d. TDI — Jim House noted that TDI has published their 2002 Blue Book and noted that if
anyone was interested in obtaining a copy, they should contact him (jimhouse@tdi-

online.org).

e. NENA -— Tom Dunne, NENA, noted that she has been updating NENA on the progress of
TTY testing and that NENA is aware of the problem that was uncovered during testing.
She noted that the Public Service Answering Points (PSAPs) have been removed from
the loop until TTSI could test with the PSAP manufacturers, but that not all PSAP
manufacturers have been participating in TTS] testing. She explained that NENA has
been working to notify all manufacturers of the problem and to ask them to work with
ATIS to ensure that all manufacturers’ equipment is being tested.

f. ATIS — Ed Hall introduced Contribution TTY21-02-03-05-07, a letter from ATIS (on
behalf of the TTSI Incubator) to the FCC. The letter was written to notify the FCC of
problems discovered while testing with PSAPs. He noted that ATIS would not be
contacting the National Association of Regulatory Utility Commissioners (NARUC) as
stated in the letter because of advice from NENA. Mr. Hall explained that ATIS and the
TTSI would be meeting with the FCC to further discuss this letter on March 12, 2002,
and that the Forum would be discussing it during Agenda Topic 8c.

6. Review TTY Forum #20 Agreements and Action Items
Ed Hall reviewed Contribution TTY21-02-03-05-04, the Agreements and Action Items from
TTY 20. He detailed where these items would be reviewed in the agenda. There were no
further comments submitted on these items at this point.

7. Industry lmplementation Status Reports
This agenda item was moved to follow the TTSI Technical Report.
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Ericsson

Amy Johnson, Ericsson, presented Contribution TTY21-02-03-05-08, Ericsson’s network
infrastructure status report. She noted that the software for TDMA was initially released on
December 5, 2001 and has had several new releases since that time. For GSM, the TTY
solution had its FOA in December 2001 and January 2002. Rollouts will begin in March
2002. The CDMA software code development is complete as well as lab and integration
testing. The software was available for carrier testing on February 8, 2002.

Sony Ericsson

Matt Kaltenbach presented Contribution TTY21-02-03-05-XX, Sony Ericsson’s status report.
He noted that development was complete for TDMA. Regression testing of HCO/VCO is
scheduled for TTSI test event #4. Final handset user interface testing is also underway.

GSM handsets are in the final stages of development and testing. Carrier test units are
available at the Special Needs Center. HCO/VCO regression testing is scheduled for March
2002. Product availability is expected by April 2002.

CDMA handsets have encountered performance issues during testing. Network testing
revealed that the TTY standard is susceptible to echo. The phone is expected to be available
by April 2002.

Sony Ericsson is undergoing drive testing with good results and they are in the final phases
of product release. Mr. Kaltenbach noted that all products are scheduled to be available to
customers prior to June 30, 2002.

Cingular

Ken Evans, Cingular, noted that the TTSI work has made implementation into the network
much easier. He reported that on TDMA, Ericsson software was generally available on
December 1, 2001 and that they are installing patches that they are hopeful will aid in the
PSAP issue. He noted that they will probably turn on Ericsson TDMA switches in April.

Mr. Evans reported that GSM interoperability testing in Pleasanton, CA resulted in positive
results. He explained that the Nortel switches will not be able to be turned on until May 7,
2002. He is concerned that the lateness of software availability may jeopardize the deadline.

Mr. Evans reported that 60% of the Cingular network is currently operational and that by the
end of April, the percentage is expected to-be closer to 95%. They are hopeful that with the
addition of Nortel switches in May, they will be 100% operational by the end of May.

Cingular has participated in interoperability testing with TTSI for all three of their air
interfaces. Mr. Evans reported that mobile-to-mobile and mobile-to-landline testing has
shown that they have a viable TTY solution. Once the PSAP issue has been resolved, they
expect to be in full compliance. Cingular hopes that if the PSAP issue has not been resolved
by the deadline, they will be able to deploy digital technologies to deaf users by the deadline.
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TTY ~ 21
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Exhibit T
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PTY Forum

TTY Forum — 22
Meeting Summary Report

June 4, 2002
ATIS Conference Center
Washington, DC
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receiving necessary information. Mr. Nelson stressed the importance of having a trained
sales force and the need for TTY customer service numbers to be widely available and
publicized. Mr. Coston echoed these statements, noting the importance of consumer
education and awareness.

CTIA (Cellular Telecommunications and Internet Association)

Andrea Williams asked about the current status of the concerns brought to the FCC
regarding Public Service Answering Points (PSAPs) (Note: This is regarding a letter sent
from the TTY Technical Standards Implementation Incubator (TTSI) to the FCC in
February 2002). Mr. Coston asked if the FCC would take the time to address this during

their liaison report. Jim Schlichting responded that he would address this question.

FCC (Federal Communications Commission)

Mindy Littell introduced the FCC participants in attendance today, and expressed her
interest in hearing the upcoming industry status reports. She noted that roughly 30
companies have filed requests for a waiver of the June 30, 2002, date, and she explained
that these requests are predominately for limited waivers of three to six months in a
specific location. In some cases she noted that the waiver is being requested by small
TDMA carriers looking to switch to a new air interface in light of larger carriers switch to
GSM.

Jim Schlichting, FCC, noted the importance of the June 30, 2002 deadline, and reported
that the FCC has received a mostly positive response from the industry meeting this
deadline, He reported to the TTY Forum that the FCC had been approached regarding
the high error rates resulting from tests involving PSAPs, he noted that it was suggested
that the FCC issue a public notice regarding this matter, Mr. Schichting explained that
the FCC is considering this matter and no final decision has been made regarding any
action, but that some form of public notice or consumer notice would most likely be
appropriate. He noted that, ideally, any bulletin from the FCC would be issued before
July 1, 2002. Mr. Schlichting explained that, for the long term, this problem should be
addressed and not allowed to progress any longer then necessary. The FCC is working
with this Forum and the industry to alleviate the problem. He expressed his appreciation
to the TTY Forum and the TTSI for all of their efforts toward the resolution of this issue.

Ms. Williams asked if coordination efforts had begun regarding the dissemination of
information to consumers regarding TTY accessibility. Mr. Schlichting noted that work
had begun on a public bulletin.

Mr. Nelson expressed his concerns about the ability for consumers to assess the situation
within the PSAPs. Mr. Schlichting agreed with this concern and noted the importance of
this issue. He informed the Forum that the FCC had no jurisdictional authority over
PSAPs, and they can only approach the issue via consumer information and education.
Through these methods, he said, the awareness level would be raised at the PSAPs. He
stressed the importance of having public safety representatives aware of the problems,
and gaining their assistance to correct the problem. Judy Harkins, Gallaudet University,
noted the difficulty of advocacy of this issue on the local level, and suggested that
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perhaps the FCC could query the Department of Justice on this matter, as they have
jurisdiction over PSAPs.

Mr. Schlichting noted that updated testing information would be important to the FCC,
and the FCC would consider any updates from the TTY Forum or the TTSI for inclusion
in any future public notice. Several participants noted the importance of balancing the
flow of immediate, less detailed, information, and the long-term dissemination of detailed
information. Mr. Nelson commented that many in the deaf and hard-of-hearing
community check their association web sites, rather then sites like the FCC, when
searching for information. It was noted that it would be important for the industry to
send the same information to consumers, and it was recommended that web site links to
the FCC web page be widely used to disseminate information, Cary Barbin, Gallaudet
University, suggested that the FCC take the individual language use abilities of deaf
consumers while drafting any bulletin targeted to the deaf community.

6. Review TTY Forum #21 Agreements and Action Items
Mr. Coston reviewed all agreements and action items from the TTY Forum #21. He
detailed where these items would be reviewed in the agenda. Megan Hayes, ATIS,
reported that a press release had been distributed regarding the use of the TTY symbol on
the packaging of TTY compatible equipment. There were no further comments
submitted on these items at this point.

7. Technical Activities

7a. Review of draft contribution to TR30.1

Dick Brandt, Gallaudet University, presented Contribution TTY22/02.06.04.06, a draft
contribution to TIA’s TR30.1 regarding problems discovered in [TU-T Recommendation
V.18, which were also included in ANSI TIA/EIA-825, The document defines a problem
caused in interworking between these implementations and existing TTYs over digital
wireless connections. The contribution proposes a change to the text to the ITU-T, and
opening a project to remove the corresponding text from ANSI TIA/EIS-825. Some
suggestions were made to strengthen the statements in the recommended text, and Mr. Brandt
indicated he would make the appropriate changes before presenting the contribution to
TR30.1

Action Item: Dick Brandt will edit Contribution TTY22/02.06.04.06 and send it to Megan
Hayes for contribution to TR30.1

Agreement Reached: Contribution TTY22/02. 06.04.06 will be sent, as edited by Dick
Brandt, to TR30.1.

Tb. TTSI Report
Jim Turner, ATIS, presented Contribution TTY22/02.06.04.05, the TTSI report to TTY
Forum #22. He noted that the TTSI has been a precedent-setting collaboration of
industry players gathering to solve a specific issue. His report addressed several areas of
testing in TTSI, some issues are still in progress and some issues have been closed.
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Mr. Lucas also noted that this would be his last time attending the TTY Forum, as he
would be retiring on June 28, 2002. He expressed his pleasure at participating in the
TTY Forum, and he noted that it was an outstanding example of the industry working
together. The participants in the TTY Forum gave Mr. Lucas a warm round of applause.

Sony Ericsson

Matt Kaltenbach reported that Sony Ericsson has handsets available for three air
interfaces. TDMA handsets will be released prior to June 30, 2002, and GSM handsets
are currently available through the Sony Ericsson Special Needs Center. Extensive
conformance testing had occurred with the CDMA handsets, and the issues have been
communicated to Qualcomm for patch code evaluation and parameterization.

Nokia

Chris Wallace reported that Nokia has produced handsets for TDMA, CDMA, GSM and
multi-mode phones, and although there have been some issues with the S10 model, Nokia
is committed to the completion date sighted by the carriers.

9. Consensus Statement for the FCC

The participants of the TTY Forum discussed the reasons for creating this document, and the
best way of producing it. It was agreed that a consensus statement to the FCC would be
important to demonstrate all that the TTY Forum had accomplished. It was determined that
the Secretariat would draft the document based on some main points supplied by the Forum,

and the document would then be reviewed by the forum via e-mail prior to being sent to the
FCC,

S. Coston explained to the Forum that based upon the recent status reports given the Wireless
Industry considers the Development Phase of TTY Compatibility to be Closed. Products are
now in the Production Phase of the Plan and are moving into early launches through efforts
of both the Wireless Manufacturers and Carriers. Released products for the Production Phase
wil progress through its cycle encompassing stronger field use by consumers, evaluation and
feedback mechanisms channeled through Customer Service Departments that ultimately
influence future designs of products. Effective support and handling of these feed-back
mechanisms while in the Production Phase are typically referred to as Maintenance updates.
It was agreed by all Wireless Industry that Digital Wireless TTY Compatibility has now
moved into a Production Release and Maintenance Phase for all future changes.

Agreement Reached: The TTY Forum will send a consensus statement to the FCC that
reflects the readiness of the industry for TTY deployment over the digital wireless network
by the June 30, 2002 deadline.

Action Item: The Secretariat will draft a consensus statement for the FCC and distribute it
to the members of the TTY Forum by June 18, 2002 for their consideration. The
participants will submit their comments by June 25, 2002, and the Secretariat will forward
the final document to the FCC.

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June 4, 2002
Washington, DC

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